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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

ln re: Chapter 15

Total Debt Relief Ltd.,
Case No. 18-
Debtor in a Foreign Proceeding.

 

 

DECLARATION OF STEPHEN J()HN HUNT IN SUPPORT
OF (I) VERIFIED PETITION FOR RECOGNITION OF FOREIGN MAIN
PROCEEDING AND RELATED RELIEF; (II) EMERGENCY MOTION FOR
PROVISIONAL RELIEF; AND (III) EXPARTE NOTICE MOTION

 

l, Stephen John Hunt, pursuant to 28 U.S.C. § 1746, hereby declare under the penalty of
perjury under the laws of the United States that the following is true and correct to the best of my
knowledge and belief:

l. I submit this declaration in Support of the: (a) Verijied Petz`tz'on for Recognition of
Forez'gn Maz'n Proceeding and Related Relz`ef [Docket No. 2] (together with the Forrn of Voluntary
Petition [Docket No. l] filed concurrently herewith, the “PLition”); (b) Emergency Motz`on for
Provisz`onal Relz'ef [Docket No. 3] (“Provisional Relief l\/lotion”); and (c) EX Parte Motion for an
Order (l) Specifying Forrn and Manner of Service of Noticc; (II) Scheduling Hearing on (A)

Recognition and Additional Relief and (B) Emergency Provisional Relief; and (lll) Setting

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Deadlines for Objections [Docket No. 5] (“Notice Motion”) (collectively, the “Chapter 15
Plcadings”) of Total Debt Relief Ltd. (the “Company” or “Debtor”). l have been shown a copy of
each Of the Chapter 15 Pleadings in this proceeding and have personal knowledge ofthe matters set
forth herein.l

Personal Background and Oualifications

2. l am a qualified insolvency practitioner and Partner of Griffins, one of the largest
independent insolvency practices in the UK, located at Tavistock House South, Tavistock Square,
London, England, WClH 9LG.

3. l understand l am authorized to act as a “foreign representative” as such~term is
defined in section 101(24) of title 11 of the United States Code, §§ 101-1532 (the “Bankruptcy
_QQdQ”). On September 11, 2018, upon the application of the Financial Conduct Authority (the
“M”), the High Court of Justice (London, England) (the “UK Court”) appointed me as
provisional liquidator of Total Debt Relief Ltd. in relation to the liquidation requested by the FCA
(the “UK Proceeding”)2 pursuant to the Insolvency Act 1986 (the “ nsolvency Act”) currently
pending before the UK Court. §e§ Exhibit A (the “Appointing Order”).

4. ln undertaking my duties under the Appointing Order, l have relied upon the
information and evidence presented to the UK Court and to me by the FCA, particularly the
information set forth in the First Witness Statement of Andrew Spencer, dated September 10, 2018

(the “First Witness Statement,” a copy of which is attached hereto as Exhibit B) and Skeleton

 

1 Capitalized terms used herein but not otherwise defined shall have the meanings ascribed to them in the

Petition.

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~ The defined term the “QK” shall be used in this Declaration to refer to the Unitcd Kingdom of England,
Scotland, Northern Ireland, and Wales.

 

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Argument on Behalf of the FCA, dated September 1 1, 2018 (the “ CA Skeleton Argument,” a copy
of which is attached hereto as EXhibit C ), both of which were submitted by the FCA in support of
its September 11, 2018 winding up petition of the Company (the “Winding Up Petition,” a copy of
which is attached hereto as Exhibit D.)

Background
I. Overview of the Company and Its Current Regulatorv Status

5. The Debtor was incorporated in 2009 to provide debt management services to
individuals in the UK. Debtor purports to conduct a review of each individual client’s financial
circumstances to devise a debt management plan and then negotiate with the client’s creditors to
settle the client’s debts in accordance with the debt management plan. EX. C, 11 2.

6. Debtor operates on a full and final debt settlement model by which it collects a
monthly payment from its clients (collectively, the “Client Funds”) from which it deducts a service
fee of approximately 30% of the client’s total debt obligations to be managed under the debt
management plan. EX. B, 1111 29-30. The service fee is paid in monthly installments as part of the
monthly fee that the customer pays to the Company for each month of the debt management plan.
Li_. The length of the debt management plan is calculated as the time it will take the customer to
build a “war-chest” equal to 40% of the value of their outstanding debts. E.

7. Debtor transfers the Client Funds into three client accounts (the “Client Accounts”)
with Barclays Banks UK Plc (“Barclays”). Ld. at 11 34. The purpose of the Client Accounts is to
segregate client funds from the Company’s own funds which are held in two separate accounts with
Barclays (the “TDR Own Account 1” and “TDR Own Account 2”) in accordance with the
requirements of the UK Financial Services and l\/Iarkets Act 2000 (the “_ES_l\/I_A”), which regulates

the Company’s activities E.

 

 

 

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8. The purpose of the three separate Client Accounts is to have one account from which
the Debtor deducts its service fee, one Client Account from which the Debtor makes nominal
monthly payments to creditors in the amount of £1 to £2 until a final, lumpsum settlement can be
reached, and one account from which the Debtor is to make full and final settlement offers to
creditors and which holds the majority of the Client Funds (the “Accumulation Account”). Ex C.,
11 3. lt is my understanding that the Client Funds consist of most, if not all, of an individual client’s
liquid assets.

9. Prior to April 1, 2014, a regulatory agency other than the FCA was responsible for
authorizing firms within the consumer credit industry. lc_l. at il 5. Any firm that held a consumer
credit license as of April 1, 2014, which included the Company, was permitted to continue operation
on an interim basis, so long as, the firm applied for permanent authorization and such application
had not been withdrawn or denied by the FCA. Ld. The Company applied for permanent
authorization in December 2014. While the FCA was statutorily required to decide the application
within a year of the submission, the FCA was not able to complete a sufficiently thorough
assessment of the Company to assess the application until recently. Ex. B, 1111 124-126.

10. On August 1, 2018, after the FCA had completed its investigation, it issued the
Warning Notice of its intent to deny the Company’s application because, among other things, the
FCA was not satisfied with the quality of the Company’s debt advice, the suitability of the debt
settlement plans it operated, its record-keeping or the skills and competence of its management
team. EX. B, 1147. The FCA was required to issue such warning notice in advance of denying the
application to give the Company an opportunity to respond to the FCA’s concems. ld. The

Company had not formally responded to the FCA or withdrawn its application EX. B, 1149. As

 

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such, the Company had authorization to operate on an interim basis until the Appointing Order
was entered by the UK Court on September 11, 2018. Ex. B, j 44.

11. l am advised that the Debtor’s sole shareholder and Corporate Secretary, Lawrence
Kopylov, is a resident of Brooklyn, New York. l am also advised that the Company’s sole director,
Eric Puzaitzer, is also a resident of Brooklyn, New York. According to the Company’s latest public
filings, it does not have any officers or directors based in the UK despite exclusively servicing
residents of the UK. lc_l., EX. B, 1111 31-32, 38-42.

II. Misappropriation of Client Funds

12. On or around August 30, 2018, the FCA was notified that the Debtor’s only UK-
based director, Sarah Tabor-Thickett, had resigned. Ld_. at il 49. The next day, the FCA sent an e-
mail to the Company to understand the impact of the resignation on its pending application As of
the date the FCA requested the liquidation of the Debtor, the Debtor has not responded to the FCA.
l_d_.

13. On August 31, 2018, the FCA sent a request to Barclays for copies of the account
statements for the prior three months for the Client Accounts, TDR Own Account 1, and TDR
Own Account 2. Based on analysis of the statements and correspondence with Barclays on or
after September 4, 2018, the FCA discovered that. Ex. C, il 17:

a. From August 24, 2018, to August 31, 2018, the Company transferred £1,230,000
of Client Funds from the Accumulation Account to TDR Own Account 1.

b. From August 24, 2018, to August 31, 2018, the Company transferred at least
£1,150,000 from TDR Own Account 1 to TDR Own Account 2.

c. From August 28, 2018, to August 31, 2018, the Company transferred a total of

£650,000 out of the TDR Own Account 2 to Halo Financial Ltd. (“Halo”), which

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is authorized and regulated by the FCA to provide foreign exchange services.
On September 4, 2018, the FCA contacted Halo to ascertain the location of the
funds. Halo indicated that it had transferred the funds to an account at TD Bank
N.A. (“TD Bank”) in the United States in the name of Total Relief Marketing
Solutions, LLC (“TRMS”) on August 31, 2018.

d. From August 28, 2018, to August 31, 2018, the Company also transferred a total
of £490,000 to Ebury Partners UK (“E_b_ury”), which is authorized and regulated
by the FCA to provide electronic money services. On September 5, 2018, the
FCA contacted Ebury to ascertain the location of the funds. Ebury indicated that
it had transferred substantially all of the funds (£487,264.96) to an account at TD
Bank in the Unitcd States in the name of KLl\/[ Management Corp. (“KLM”).

e. TRMS is a company incorporated in New York with its registered office with
the New York Secretary of State located at 2566 East 27th Street, Brooklyn, New
York 11235. lt is the FCA’s understanding that Eric Puzaitzer and Lawrence
Kopylov exercise significant control over TRl\/[S as management and
shareholders

f. KLl\/l is a company incorporated in New York with its registered office with the
New York Secretary of State located at 55 Oceana Drive, East Suite 3D,
Brooklyn, New York, 11235. Its Chief Executive Officer is Lawrence Kopylov,
whom l am advised remains Corporate Secretary and sole shareholder of the
Company.

14. Prior to the above-described transfers, £1,212,179.42 was held in the Accumulation

Account. By September 4, 2018, only £17,356.35 remained S_ee_ Ex. B, 1111 49, 56-100.

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15. On September 4, 2018, the FCA imposed a formal restriction on Barclays to freeze
thc Client Accounts, TDR Own Account 1, and TDR Own Account 2. I_d. at 11106.

16. While TD Bank does not necessarily agree that the FCA has authority over funds
held at TD Bank, on or about September 7, 2018, TD Bank indicated that it would temporilarly
freeze the accounts of TRMS and KLl\/I based on the FCA’s representation that it intended to place
the Company into liquidation and pursue formal recovery of the funds. EX. C, 11 19.

17. However, l have been informed by my Unitcd States counsel that, on GCtober 1,
2018, counsel to TD Bank contacted Mr. David Hartheimer indicating that TD Bank would not
provide assurance that it would continue to freeze the accounts of TRl\/IS and KLM without a court
order entered by a court of component jurisdiction in the United States instructing it to do so, which

is why l am requesting emergency relief in order to safeguard the misappropriated assets of the
Debtor.
III. The UK Proceeding

18. As set forth in more detail in the Winding Up Petition and the First Witness
Statement and FCA Skeleton Argument in support thereof, the FCA has power under section
367(3)(b) of the FMSA to petition the UK courts for the compulsory “winding up” or liquidation
of a company if it is “just and equitable” for the company to be wound up, regardless of whether
the company is insolvent. Ex. C, W 20-22. The UK courts have found it to be “just and equitable”
to force a company into compulsory liquidation where the company has engaged in fraudulent
activity or where there has been a justifible loss of confidence in a company’s management or
directors. l_d.

19. On September ll, 2018, the FCA presented a winding up petition to the UK Court

asserting that the Company must be wound up to: (a) ensure protection of the Company’s consumer

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'clients; (b) effect appointment of an independent liquidator to (i) take control of the Company’s
assets and affairs, (ii) preserve any of the Company’s books and records, and (iii) consider the
commencement of litigation to recover any misappropriated funds. Ex. D.

20. On September ll, 2018, the FCA also applied to the UK Court for appointment of a
provisional liquidator pending a determination on the winding up petition. l_d. Appointment of a
provisional liquidator is considered an emergency remedy under section 135 of the Insolvency Act
to be granted where there is evidence that: (a) a winding up order will likely be issued at the hearing
of the petition; (b) there is a risk cf jeopardy to the company’s assets pending the hearing of the
petition_either dissipation of the company’s assets or loss or destruction of the company’s books
and records. Ex. C, 1111 23-26, 29-34.

21 . Finding that the FCA had adequately presented such evidence, the UK Court entered
the Appointing Order appointing me as provisional liquidator of the Company on September 12,
2018. Ex. A.

22. On September 12, 2018, l submitted an ex parte application for injunctive relief
against TRMS, KLl\/I, Eric Puzaitzer, and Lawrence Kopylov (the “En]`oined Parties”) from
transferring any assets worldwide in their possession or control outside of the ordinary course,
including any assets held in the accounts at TD Bank, which the UK Court granted on September
12, 2018. After notice and a hearing, on September 26, 2018, the UK Court entered a final order
extending the injunction to September 26, 2020 (the “Freezing lnjunction,” a copy of which is
attached hereto as Exhibit E.)

Relief Sought in The Petition
23. It is my understanding that the Petition seeks certain additional discretionary relief

under the Bankruptcy Code, including: (a) enforcement of the Appointing Order and Freezing

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lnjunction on a final basis; (b) staying the commencement or continuation of any action or
proceeding concerning the assets, rights, obligations or liabilities of the Company, including
execution against the Company’s assets, to the extent not stayed by section 1520(a); and (c)
authorizing me to issue subpoenas and conduct examinations of witnesses, take 2004 examinations,
take evidence, seek production of documents, deliver information concerning the assets, affairs,
rights, obligations or liabilities of the Company for the purposes of locating and analyzing the
Company’s assets and liabilities, and obtaining recovery of the Company’s books and records (the
“Discretionary Relief”).

24. l believe that the fair and efficient administration of the UK Proceeding requires
approval of the Discretionary Relief. Without the Discretionary Relief, l will not be equipped to
protect and maximize the value of the Company’s assets in the Unitcd States for the benefit of the
Company’s creditors-particularly the Company’s clients whose Client Funds are believed to have
been misappropriated by the Company.

25. The UK and Unitcd States share the same common law traditions and fundamental
principles of law, and l believe the UK Court has and will continue to afford all parties in interest a
full and fair opportunity to be heard in a manner consistent with US expectations of due process.

26. l believe that the relief requested by the Petition, including the Discretionary Relief,
is consistent with the public policy of the Unitcd States as l seek to redress the fraud perpetuated
on vulnerable consumer debtors who trusted the Company to remedy their financial troubles, not
exacerbate them further. This relief furthers fundamental principles shared by the United States
and UK, including protection of consumers, integrity of the financial system, and accountability of

corporate fiduciaries to their beneficiaries

 

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27. l also believe that the relief requested by the Petition, including the Discretionary
Relief, is consistent with the policies behind both chapter 15 and the Bankruptcy Code in general
The relief will ensure that l am able to preserve the Company’s books and records to properly
identify and evaluate transfers of the Company’ s assets and recover any assets, including the Client
Funds, that may have been misappropriated to entities or individuals in the Unitcd States. lf the
relief is not granted, there is significant risk that the Company’s books and records could be lost or
destroyed and that the funds it held as trustee in the Client Accounts could be depleted or transferred
in the detriment of the Company’s clients.

Relief Sought in the Provisional Relief Motion and Shortened Notice Motion

28. lt is my understanding that the Provisional Relief l\/lotion seeks certain limited
interim protection under the Bankruptcy Code pending the hearing date on the Petition, including:
(a) enforcing the Appointing Order and Freezing lnjunction in the United States on an interim basis
until the Petition is granted; and (b) suspending the right to transfer, encumber or otherwise dispose
of any assets of the debtor held by the Enjoined Parties, including, without limitations, the funds
held in the bank accounts at TD Bank in the name of TRMS and KLl\/l (collectively, the “Provisional
B€_li_€_f’)-

29. l am concerned that the assets of the Debtor, including its books and records, that
are currently in the possession, custody, and control of third parties may not be properly preserved
l believe the known transfers from the Company to TRMS and KLl\/I_US-based entities under
common control with the Debtor_demonstrate the irreparable harm to the Debtor and its creditors
if the relief sought is not granted.

30. l\/loreover, while the UK Court entered the Freezing lnjunction against the Enj oined

Parties in the United States and TD Bank has voluntarily agreed to temporarily freeze the accounts

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of TRSl\/l and KLl\/l, the entities to which the funds in the Client Accounts are believed to have been
transferred, there is no guarantee that the Freezing lnjunction will be effective against US-based
parties that may not be subject to the jurisdiction of the UK Court or have assets in the UK against
which the UK Court could order enforcement.

31. As a result, l believe the Provisional Relief is necessary to prevent irreparable harm
that could result from the transfer, destruction, or depletion of the Debtor’s assets within the
territorial Unitcd States in the interim period before the hearing of the Petition.

32. For the foregoing reasons, l believe the relief sought in the Petition, Provisional

Relief l\/lotion, and Shortened Notice l\/lotion should be granted

Dated: October 17, 2018
London, England

s// Stephen John Hunt

Stephen John Hunt, as provisional liquidator of
Total Debt Relief, Ltd.

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